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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                         MONTGOMERY DIVISION

SOUTHERN INDEPENDENT                        )
BANK,                                       )
                                            )
         Plaintiff,                         )     Case No. 2:15-cv-00799-WKW-
                                            )     GMB
    v.                                      )
                                            )
FRED’S, INC.,                               )
                                            )
         Defendant.                         )

             JOINT NOTICE OF SETTLEMENT AND NOTICE OF
             WITHDRAWAL OF MOTION FOR LEAVE TO FILE
                SECOND CLASS CERTIFICATION MOTION

         Plaintiff Southern Independent Bank and Defendant Fred’s, Inc. file this

notice to inform the Court that they have reached a settlement in principle to resolve

the matter on an individual basis, which will result in the dismissal of Plaintiff’s

complaint with prejudice.

         Further, in conjunction with the Notice of Settlement, Plaintiff Southern

Independent Bank herby withdraws its motion for leave to file a second class-

certification motion. This withdrawal is without prejudice to refiling should the

parties fail to consummate the settlement or dismiss the case with prejudice.
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Dated: May 16, 2019                      Respectfully Submitted,

/s/ Jay Aughtman            l            /s/ James A. Slater (with permission)
j                                        j
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                         CERTIFICATE OF SERVICE

      I hereby certify that the forgoing was filed with the Clerk of the Court via

the Court’s ECF system on May 16, 2019, which will electronically serve all

counsel of record.

                                             /s/ Jay Aughtman                  j
